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                 EXHIBIT “D”
     Case 1:19-cv-10463-RA
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                                                            ARE 2 of 2
                              Public Health Service
                           Food and Drug Administration
                                   200 C Street, S.!l.
                              \•/asi1in~ton, D.C. 20204
                                     AUG 2 2 1g79


~r. Kenneth 8. Basa
National Food Ingredient Company
4830 S. Christiana Avenue
Chicago, Ill. 60632
Dear 11r. "E~sa:
This is in reply to your letter of July 31, 1979 concerning the use
of vanilla-vanillin and natural non-vanilla derived flavorings in
category II Vanilla Flavored Ice C.rnar.i.
l·!e \•!ill respond to your questions in the orde·r-:in \'Jhich they appear
in your letter •.
l.     Hatural flavors not derived from vanilla beans may be used in
       cor.ibination with the standardized items included under 21 CFR
       169 (vanilla-vanillin extract or vanilla-vanillin flavoring)
       for category II vanilla flavored ice cream provided that the
       flavoring contributed by or derived from the vanilla beans
       predominates.
2.     The'combination of vanilla-vanillin exttact or vanilla-vanillin
       flavoring with natural flavors not derived from vanilla beans
       as provided above may be r.1al·keted in a single package. Hm,1ever,
       such a combination should in no way imply or suggest that this
       combination is one of the standardized flavors covered under 21
       CFR 169.

3.     The labeling for the above combination flavoring should identify
       1·1hat the combination is, e.g. "Vanilla-Vanillin Extract and                                                  11


       (the blanl< fo be filled 1·lith the names of th2 particular flavors
       used) or "Vani 11 a-Vani 11 in Extract \·!i th other natural flavors".
       Ti1e ingredient statement should declare the standardized flavor-
       ing by_ i:ts specific corr:mon or usual name 1·1ith a parenthetical
       listing of the optional ingredients required to be declared by
       the particular standard, ijnd each ingredient of the natural non-
       vanilla flavorinq should be declared by its specific common or
       usual names.

       If we can be of further assistance, please let us know.




                                          Sincerely yours,
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                                          Taylor i·i. -Quinn                                                  '---·
                                          Associate Director
                                            for Compliance
                                          Eurenu of Foods
